
ON MOTION

ORDER

Defendant the United States moves to remand or dismiss as moot the appeal herein, Court of Federal Claims Case No. 08-CV-515. Plaintiff L-3 Communications Eotech agrees, and also states that it will not appeal the decision of the Court of Federal Claims in Case No. 08-911C. Defendant Aimpoint, Inc. agrees to the dismissal and states that remand is appropriate so that the Court of Federal Claims may dissolve its injunction imposed in August 2008. By notice of July 29, 2009, Aimpoint, Inc. filed a voluntary dismissal of its appeal.
Accordingly,
IT IS ORDERED THAT:
1. The motion to dismiss the appeal is granted.
2. The case is remanded to the Court of Federal Claims, for any further proceedings that may be appropriate to conclude this case.
